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                             Exhibit 3
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       The observations of objectionable conditions and practices listed on the front of this form
       are reported:
       1. Pursuant to Section 704(b) of the Federal Food, Drug and Cosmetic Act, or
       2. To assist firms inspected in complying with the Acts and regulations enforced by the
          Food and Drug Administration.


       Section 704(b) of the Federal Food, Drug, and Cosmetic Act (21 USC 374(b)) provides:

                "Upon completion of any such inspection of a factory, warehouse, consulting
       laboratory, or other establishment, and prior to leaving the premises, the officer or
       employee making the inspection shall give to the owner, operator, or agent in charge a
       report in writing setting forth any conditions or practices observed by him which, in his
       judgment, indicate that any food, drug, device, or cosmetic in such establishment (1)
       consists in whole or in part of any filthy, putrid, or decomposed substance, or (2) has
       been prepared, packed, or held under insanitary conditions whereby it may have become
       contaminated with filth, or whereby it may have been rendered injurious to health. A copy
       of such report shall be sent promptly to the Secretary."
